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I, Gregory A. Taylor, hereby certify that on July 11, 2014, I caused one copy of the foregoing
document to be served upon the parties on the attached service list via first class mail, unless

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